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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

 

KENNETH D. BELL, in his capacity as court-
appointed Receiver for Rex Venture Group,
LLC d/b/a ZeekRewards.com,

Plaintiff,
VS.

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TODD DISNER, in his individual capacity and
in his capacity as trustee for Kestrel Spendthrift _)
Trust; TRUDY GILMOND; TRUDY ) No. 3:14-cv-91
GILMOND, LLC; JERRY NAPIER; DARREN _)
MILLER; RHONDA GATES; DAVID )
SORRELLS; INNOVATION MARKETING, )
LLC; AARON ANDREWS; SHARA )
ANDREWS; GLOBAL INTERNET )
FORMULA, INC.; T. LEMONT SILVER; )
KAREN SILVER; MICHAEL VAN )
LEEUWEN; DURANT BROCKETT; DAVID )
KETTNER; MARY KETTNER; P.A.W.S. )
CAPITAL MANAGEMENT LLC; LORI JEAN )
WEBER; and a Defendant Class of Net Winners )
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in ZEEKREWARDS.COM;

Certttied to be a true and
correct copy of the original
U.S. District Court
Frank G. Johns, Clerk

Western District of N.C,
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Deputy Clerk
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Defendants.

 

FINAL JUDGMENT
In accordance with the Court’s Order Granting Entry of Final Judgment Against Certain
Net Winner Class Members, Final Judgment is hereby entered against each of the class members
listed on the following single page attachments in the amounts listed therein, which are comprised
of net winnings from the ZeekRewards scheme and prejudgment interest, calculated at the North
Carolina statutory rate of 8% per annum from August 17, 2012, which is on or after the date of the
last fraudulent transfer payment on which liability is based, to November 29, 2016, the date of the

Summary Judgment Order in this action. See N.C. Gen. Stat. § 24-4, 5 (2001); Doc. #142. An

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index of the individual class members and the amount of the Judgments against them is also
attached.

Post-judgment interest shall accrue on the entire Final Judgment, including the award of
prejudgment interest, at the rate specified under 28 U.S.C. § 1961 from the date of entry of this
Judgment until paid in full.

The Court confirms each amount listed in the attachments is the Final Judgment of the
Court against each respective Defendant and hereby authorizes the Receiver to pursue appropriate
collection proceedings.

SO ORDERED.

Signed: August 14, 2017

Graham C. Mullen wae
United States District Judge -

 

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BELL vy. DISNER, Case No. 3:14-cv-91

 

FINAL JUDGMENT

In accordance with the Court’s Order Granting Entry of Final Judgment Against Certain
Net Winner Class Members, Final Judgment is hereby entered against
Defendant PATRICK ORLANDO in the amount of $475,892.55 which is comprised of
$354,363.35 in net winnings from the ZeekRewards scheme and $121,529.20 in prejudgment
interest. Post-judgment interest shall accrue on the total amount of this Judgment,
including prejudgment interest, at the rate specified under 28 U.S.C. § 1961 from the

date of entry of this Judgment until paid in full.

Certified to be a true and
correct copy of the original
U.S. District Court
Frank G. Johns, Clerk

BULA District ef N.C,
By: bUt PUY Mugen
ri uty Clerk

Date 8 Al0070 _

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